                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                    CHATTANOOGA DIVISION

  BRYAN R. PHILLIPS,                                 )
                                                     )
                  Plaintiff,                         )            1:24-CV-00090-DCLC-MJD
                                                     )
             v.                                      )
                                                     )
    TIM CASH, et al.,
                                                     )
                                                     )
                                                     )
                  Defendants.

                                                ORDER


        Plaintiff, acting pro se, has now filed three motions to amend his Complaint. [Docs. 26,

 30, 44]. The first two motions were denied without prejudice. [Docs. 41, 43]. Plaintiff was

 previously ordered to file a proper motion to amend, with a complete copy of the proposed second

 amended complaint attached, by November 21, 2024. [Docs. 41, 43]. On November 7, 2024,

 Plaintiff filed the instant motion to amend. [Doc. 44]. Plaintiff failed, for the third time, to include

 a copy of his proposed second amended complaint, in violation of Local Rule 15.1. Plaintiff has

 been instructed to do so at least five times. [Docs. 11, 27, 31, 41, 43]. The magistrate judge

 reviewed Plaintiff’s third motion to amend [Doc. 44] and filed a Report and Recommendation

 (R&R) [Doc. 47]. The magistrate judge recommended that Plaintiff’s third attempted motion to

 amend be denied without prejudice and that this case should proceed with the Amended Complaint

 [Doc. 17] as the operative complaint. No objections were filed to the R&R. See Fed. R. Civ. P.

 72(b). The magistrate judge recommends that Plaintiff’s third motion to amend be denied because

 the Court cannot determine whether the proposed second amended complaint complies with Fed.

 R. Civ. P. 15 or the Court’s prior instructions.




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        The Court has reviewed the R&R and the record as a whole and finds that the R&R properly

 analyzes the issues presented. For the reasons set forth in the R&R, which are incorporated herein

 by reference, it is hereby ORDERED that the R&R [Doc. 47] is ADOPTED, and Plaintiff’s

 motion to amend [Doc. 44] is DENIED. The parties shall proceed with the Amended Complaint

 [Doc. 17] as the operative complaint.

        SO ORDERED:

                                              s/ Clifton L. Corker
                                              United States District Judge




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